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                                   THE




                Statutes at Large
                                      OF




     PENNSYLVANIA
                                     FROM




                     1682 to 1801

                             COMPILED UNDER THE

                     AUTHORITY OF THE ACT OF MAY 19 1887 BY

             JAMES T MITCHELL AND HENRY FLANDERS
                                 COMMISSIONERS




                            VOLUME VI
                                 1759 to 1765




                          WM STANLEY RAY
                     STATE PRINTER OF PENNSYLVANIA
                                     1899


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                                                       1


                                                                                  319
    1763-64] The Statutes at Large of Pennsylvania.
    act ; and the said orders so as aforesaid paid shall be sufficient
    to discharge the said trustees and provincial treasurer, their
    executors and adminstrators respectively, of and from so much
    as shall be respectively paid by them and specified in the said
    orders. And the commissioners last mentioned for their trouble
    in discharging the duties required of them by this act shall have
    and receive one per centum on the whole sum of the orders by
    them drawn and no more.
      And the said trustees and treasurer shall have and receive
    for their trouble respectively in performing the duties enjoined
    and required of them by this act, the sum of ten shillings each for
    every hundred pounds and no more.
           Passed October 22 , 1763.   Referred for consideration by the King
         in Council , February 10 , 1766 , and allowed to become a law by lapse
         of time in accordance with the proprietary charter. See Appendix
         XXIV, Section VIII , and the note to the Act of Assembly passed
         March 5 , 1725-26 , Chapter 289 ; and the Acts of Assembly passed
         May 30, 1764 , Chapter 513 ; September 22, 1764 , Chapter 516.
           As to Section V, see the Act of Assembly passed May 20, 1767,
         Chapter 559.




                                 CHAPTER DVI .


    AN ACT TO PROHIBIT THE SELLING OF GUNS, GUNPOWDER OR OTHER
                        WAPLIKE STORES TO THE INDIANS.

      Whereas several tribes of Indians for some time past have
    perfidiously made incursions within the frontiers of this pro
    vince and have perpetrated many cruel and barbarous murders
    on the inhabitants thereof, and it must be in the present circum
    stance of affairs of dangerous consequence to supply the said
    Indians with guns, gunpowder or other warlike stores.
      For prevention whereof:
       [ Section I. ] Be it enacted by the Honorable James Hamilton ,
    Esquire, Lieutenant-Governor under the Honorable Thomas
    Penn and Richard Penn , Esquires, true and absolute Proprie
    taries of the Province of Pennsylvania and counties of New
    castle, Kent and Sussex upon Delaware, by and with the advice
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  320                   The Statutes at Large of Pennsylvania. [ 1763-64
            and consent of the representatives of the freemen of the said
            Province in General Assembly met, and by the authority of the
            same, That from and after the passing of this act if any person
            or persons whatsoever shall directly or indirectly give to, sell,
            barter or exchange with any Indian or Indians whatsoever any
            guns, gunpowder, shot, bullets, lead or other warlike stores
            without license from the commander in chief of the King's forces
            in those parts or from the governor or commander in chief of
            this province for the time being first had and obtained, every
            such person or persons so offending, being thereof legally con
            victed in any county court of quarter sessions within this pro
            vince, shall forfeit and pay the sum of five hundred pounds, one
            moiety thereof to the informer and the other moiety to the
            governor or commander in chief of this province for the
            time being, and shall furthermore be whipped with thirty -nine
            lashes on his bare back, well laid on, and be committed to the
            common gaol of the county, there to remain twelve months with
            out bail or mainprise.
               [ Section II. ] And be it further enacted by the authority afore
            said, That this act shall continue in force for the term of twelve
            months and from thence to the end of the next session of assem
            bly, and no longer.
                  Passed October 22 , 1763.   Referred for consideration by the King
                 in Council, February 10 , 1766, and allowed to become a law by
                 lapse of time in accordance with the proprietary charter. See
                 Appendix XXIV, Section VIII. Expired.




                                       CHAPTER DVII .


            AN ACT FOR REGULATING THE OFFICERS AND SOLDIERS IN THE PAY
                                       OF THIS PROVINCE.

              Whereas many barbarous hostilities have lately been perfidi
            ously committed by the Indians on the western and northern
            frontiers of this province and there is great reason to appre
            hend that a confederacy has been formed among several tribes
            of the said Indians to continue and extend their incursions, and
